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    ""AO 24SB (CASD) (Rev. 12111) Judgmenl in a Criminal Case with Probation
                Sheet I
                                                                                                                                            flLED
                                                                                                                                    1lI16 APR I 9 1M 3: Z9
                                             UNITED STATES DISTRICT COURT
                                                  SOUTHERN DISTRICT OF CALIFORN[A                                                     ~ ~~_ca.
                     UNITED STATES OF AMERICA                                     JUDGMENT IN A CRIMINAL CAR                                    -rf1           OEPU"
                                        v.                                        (For Offenses Committed On or After November I, 1987)

                           NAZAR MURADYAN (4)                                     Case Number: 15CRI572-BAS
                                                                                   KATRlN KATHY PATATANYAN

    REGISTRATIO!'ol NO. 44970298

    o
    THE DEFENDANT:
    181 pleaded guilty to count(s) ONE (1) OF THE INDICMENT
    o     was tound guilt)' on count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
          after a plea of not guilty.
          Accordingly. the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                           Count
    Title & Sestiol!                    Nature ofOtJense                                                                                  Number(s)
18 USC 371                           CONSPIRACY                                                                                               1




        The defendant is sentenced as provided in pages 2 through _ _4___ of this judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
 o The defendant has been found      nol guilty 00 couot(s)

 ~ Count(s)               REMAINING                           -----------------------------------------
                                                                         is 0 are(]J dismissed on the motion of the States.               United
 181 Assessment: $[ 00


  181 No fine                                      12.9 Forfeiture pursuant to order filed         4115/2016  , included herein.
                                                                                               --------------
       IT IS ORDERED that the defendant shall notify the United States Attomey for this district within 30 days of any change of name, residence,
 or mailing address until all tines. restitution, costs, and special assessments imposed by this judgment are fully paid. Ifordered to pay restirution, the
 defendant shall notify the court and United States Attomey of any material change in the defendant's economic circumstances.
                                                                               APRIL 18,2016

                                                                               Date~OI '''''.''m_ J?]J}l
                                                                                              ~.~
                                                                               HO~ASHANT
                                                                               UNITED STATES DISTRICT ruDGE

                                                                                                                                              15CR 15 72-BAS
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AD 245B (CASD) (Rev. 12/11) Judgment in a Criminal Case with Probation
             Sheet 2 -- Probation
                                                                                                             Judgment-Page        2    of   _-"4'--_ _
DEFENDANT: NAZAR MURADYAN (4)                                                                         II
CASE NUMBER: 15CR1572-BAS
                                                                  PROBATION
The defendant is hereby sentenced to probation for a term of:
FIVE (5) YEARS.

The defendant shall not commit another federal, state, or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of placement on probation and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during
the term of supervision, unless otherwise ordered by court.                                         -­

o      The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)
       The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
       The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
       Backlog Elimination Act of 2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d).
       The defendant shall comply with tlie requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as directed
       by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
       was convicted of a qualifying offense. (Check if applicable.)
o      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of probation that the defendant pay any such fine or
restitution in accordance with the Schedule of Payments sheet of this judgment.
        The defendant shall comply with the standard conditions that have been adopted by this court (set forth below). The defendant shall
also comply with the special conditions imposed.

                                       STANDARD CONDITIONS OF SUPERVISION
  I)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)    the defendant shall support his or her dependents and meet other family responsibilities;
  5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
        acceptable reasons;
  6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
         substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
         a felony, unless granted permission to do so by the probation officer;
 10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
        any contraband observed in plain view of the probation officer;
 11)    the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
        officer;
 12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
         permission of the court; and
 13)     as directed by the probation officer, the defendant shall notify third parties ofrisks that may be occasioned by the defendant's
         criminal record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm
         the defendant's compliance with such notification requirement.



                                                                                                                                       15CR1572-BAS
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AO 245B (CASD Rev. 08/13) Judgment in a Criminal Case

DEFENDANT:              NAZAR MURADYAN (4)                                                      Judgment - Page 3 of 4
CASE NUMBER:            15CR1572-BAS

                                 SPECIAL CONDITIONS OF SUPERVISION


     I. Complete 250 hours of community service in a program approved by the probation officer.

     2. Report all vehicles owned or operated, or in which you have an interest, to the probation officer.

     3. Submit your person, property, residence, office or vehicle to a search, conducted by a United States
        Probation Officer at a reasonable time and in a reasonable manner, based upon reasonable suspicion of
        contraband or evidence of a violation of a condition of release; failure to submit to a search may be
        grounds for revocation; the defendant shall warn any other residents that the premises may be subject to
        searches pursuant to this condition.


     4. Provide complete disclosure of personal and business financial records to the probation officer as
        requested.

     S. Notify the Collections Unit, United States Attorney's Office, of any interest in property obtained,
        directly or indirectly, including any interest obtained under any other name, or entity, including a trust,
        partnership or corporation until the fine or restitution is paid in full.

     6. Notify the Collections Unit, United States Attorney's Office, before transferring any interest in property
        owned, directly or indirectly, including any interest held or owned under any other name, or entity,
        including a trust, partnership or corporation.

     7. Be prohibited from opening checking accounts or incurring new credit charges or opening additional
        lines of credit without approval of the probation officer.


II
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AO 24ss (CASD Rev. 08113) Judgment in a Criminal Case

   DEFENDANT:             NAZAR MURADYAN (4)                                                   Judgment - Page S of S
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                                              RESTITUTION


  The defendant shall pay restitution in the amount of    $262,141
                                                         --'--"-------­
                                                                                unto the United States of America.

  Pay restitution in the amount of $262,141 to CMS Division of Accounting Operations 7500 Security Boulevard
  Mailstop C3-11-03 Baltimore, MD 21244 through the Clerk, U. S. District Court. Payment of restitution shall
  be forthwith. During any period of incarceration the defendant shall pay restitution through the Inmate
  Financial Responsibility Program at the rate of 50% of the defendant's income, or $25.00 per quarter,
  whichever is greater. The defendant shall pay the restitution during his supervised release at the rate of $125
  per month. These payment schedules do not foreclose the United States from exercising all legal actions,
  remedies, and process available to it to collect the restitution judgment.

  Defendant shall be jointly and severally liable to pay restitution with co-defendants/co-conspirators for the
  same losses. The presently known co-defendants/co-conspirators are ROBINSON, TOVMASSIAN and
  SENEKERIMYAN.

  Until restitution has been paid, the defendant shall notify the Clerk of the Court and the United States
  Attorney's Office of any change in the defendant's mailing or residence address, no later than thirty (30) days
  after the change occurs.



  The Court has determined that the defendant     does         have the ability to pay interest.




                                                                                                           [Type text]
